Case 1:20-cv-23223-BB Document 13 Entered on FLSD Docket 08/24/2020 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              Case No. 20-cv-23223-BLOOM/Louis

 DRAGAN JANICIJEVIC, on his own
 behalf and on behalf of all other similarly
 situated crewmembers working aboard
 BAHAMAS PARADISE CRUISE
 LINE vessels,

         Plaintiffs,

 v.

 CLASSICA CRUISE OPERATOR, LTD.,
 PARADISE CRUISE LINE
 OPERATOR LTD. INC. a/k/a PARADISE
 CRUISE LINE OPERATOR LTD. d/b/a
 BAHAMAS PARADISE CRUISE LINE,
 BPCL MANAGEMENT, LLC d/b/a
 BAHAMAS PARADISE CRUISE LINE, LLC,

        Defendants.
 _______________________________________/

                       ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court upon the Joint Motion for Brief Stay Pending Approval

 of Settlement Agreement and Notice of Class-Wide Settlement, ECF No. [12], filed on August

 21, 2020, that indicates that the parties have reached a settlement of the claims asserted in this

 case.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

          1. The above-styled action is administratively CLOSED without prejudice to the parties

              to file a settlement agreement for the Court’s consideration and/or appropriate

              dismissal documentation.

          2. The Clerk of Court shall CLOSE this case for administrative purposes only.

          3. To the extent not otherwise disposed of, any scheduled hearings are CANCELED,
Case 1:20-cv-23223-BB Document 13 Entered on FLSD Docket 08/24/2020 Page 2 of 2
                                                   Case No. 20-cv-23223-BLOOM/Louis


              all pending motions are DENIED AS MOOT, and all deadlines are

              TERMINATED.

        DONE AND ORDERED in Chambers at Miami, Florida, on August 21, 2020.




                                                _________________________________
                                                BETH BLOOM
                                                UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record




                                          2
